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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

V.                                                           CRIMINAL NO. 1:21cr0599-RBW

THOMAS HARLEN SMITH


                          NOTICE OF ATTORNEY APPEARANCE


       M. Scott Davis, Assistant Federal Public Defender, hereby enters his appearance as co-

counsel for Defendant, Thomas Harlen Smith, in the above styled and numbered cause.

       Respectfully submitted, this the 12th day of April, 2023.


                                                    /s/M. Scott Davis
                                                    M. SCOTT DAVIS, MSB #103225
                                                    Assistant Federal Public Defender
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                                   CERTIFICATE OF SERVICE

       I, M. Scott Davis, co-counsel for Defendant, Thomas Harlen Smith, do hereby certify that

I electronically filed the foregoing with the Clerk of the Court using the CM/ECF system which

provided notification to all parties of record.

       Dated, this the 12th day of April, 2023.



                                                  /s/ M. Scott Davis
                                                  M. SCOTT DAVIS
                                                  Assistant Federal Public Defender
